                 Case 2:06-cr-00450-MCE Document 24 Filed 01/18/07 Page 1 of 2


 1   DANIEL BRODERICK, Bar #89424
     Acting Federal Defender
 2   Lexi Negin, D.C. Bar #446153
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DONNA LAVETTA WILSON
 6
 7                                IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                       )   CASE NO. CR-S-06-450 (LKK)
10                                                   )
                           Plaintiff,                )
11                                                   )   ORDER AFTER HEARING
            v.                                       )
12                                                   )
     DIALLO SIMS                                     )   JUDGE: Lawrence K. Karlton
13                                                   )
     DONNA LAVETTA WILSON,                           )
14                                                   )
                       Defendants.
15   _______________________________
16          This matter came on for Status Conference on January 17, 2006, in the courtroom of the
17   Honorable Lawrence K. Karlton, Senior Judge. Special Assistant United States Attorney Lesley Monahan
18   appeared on behalf of the United States of America. Attorney Hayes Gable, III, appeared for Diallo Sims,
19   who was present and in custody, and Assistant Federal Defender Lexi Negin appeared on behalf of
20   Defendant Donna Wilson, who was present and in custody.
21          Both defense counsel requested additional time for investigation, review of discovery and to
22   prepare a defense of the case. In addition, a briefing schedule was set as follows:
23   Motions Due:          January 30, 2007
24   Responses Due:        February 13, 2007
25   Replies Due:          February 20, 2007
26   Hearing Date:         March 6, 2007
27
28   Order After Hearing
                Case 2:06-cr-00450-MCE Document 24 Filed 01/18/07 Page 2 of 2


 1           A non-evidentiary Motion Hearing is set on March 6, 2007.
 2          Accordingly, the parties agreed to exclude time from calculation under the Speedy Trial Act for
 3   the reasons stated above, pursuant to 18 U.S.C. §3161 (h)(8)(B)(iv) and Local Code T4, for preparation of
 4   counsel, from January 17, 2007, up until and including January 30, 2007.
 5          Good cause appearing therefor,
 6          IT IS ORDERED that this matter is continued to March 6, 2007, at 9:30 a.m. for non-evidentiary
 7   Motion Hearing.
 8          IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(8)(B)
 9   (iv) and Local Code T4, the period from January 17, 2007, up to and including January 30, 2007, is
10   excluded from the time computations required by the Speedy Trial Act due to ongoing preparation of
11   counsel.
12   Dated: January 18, 2007
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Order After Hearing                                 2
